Case 2:18-mé`-009_84-DUTY Document 3 Fi|eo| 06/01/18 P_a e 1 of 2 Page lD #:153
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~AO 93 (Rev. 12109) Search and Selzure Wa.rrant {USAO CDCA Rev` 01!20 )

UNIT_ED STATES DISTRICT CoURT ORlGlNAL

for the
Central District of` California

‘\.

ln the Mat‘ter Ofthe Search Of
('Briefly describe the property to be searched
or idenij the person by name and oddress)
ORSlN| |, 505 NORTH F|GUEROA STREET,
APARTMENT 455, AND PARK|NG SPACE 473,
LOS ANGELES, CA

Case N€>. 2218-MJ-00984

v\_/~_/w\.r~..z

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

of` the following person or property located in the Centra! District of Ca|ifornia
(idenn_']j) the person or describe the properly to be searched andgive irs location}i
See Attachment A

The person or property to be searched, described above, is believed to conceal ridean the person or describe the
properly 10 be sel`zed)l
See Attachment B

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. Such atfidavit(s) or testimony are incorporated herein by reference and attached hereto_

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance
(n'of fo exceed 14 days)

d in the daytime 6:00 a.m. to ]0 p.rn. ij at any time in the day or night as I find reasonable cause has been
established

Unless delayed notice is authorized below1 you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place Where the property was taken

The officer executing this warrant or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge

on duty at the time of the return through a filing with the Clerk'.s thce.
(name)

EI l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for deiay
of trial}, and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
S€EICh€d DI‘ S€iZ€d (check the appropriate bax) g fOI` _ days (nor to exceed 30).

[I| until, the factsjustifying, the la ~

Date and time issued: § 30 150 _` . _ v __ _‘.‘ . j

.ecitic date of

   

 

City and statc: Los Ange|es, California Hon ; le John E‘ N|cDermott, U.S. Magistr'ate Judge
Prin!ed name and title

AUSA: Andrew Brown, 11th F|oor, xO102

Case 2:1§1‘-5m£-00984-DUTY Document 3 Filed 06/01/18 Pa e 2 of 2 Page |D #: 154
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_ P€lg€ lD #152
‘ AO 93 (Rev. 12!|]9) Searr:h and Selzrrrs Warrani (Pag¢ 2)
Retum
Case No. .' Daie and time Warrc.nr executed Copy of warrant and inventeng le with
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§§an mfi:#$
Irrven o made in he resence 0 : l
try f p f or hodel Ca/-ln/ j

lnventory ofrhe property taken and name ofcmy person(s) seized:

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (c.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
voiume of any documents seized (e. g. number of boxes) lf reference is made to an attached description of property, specify thc
number of pages to the attachment and any case number appearing thereon ]

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" va-C -tlf\tw\ ‘~‘55?-,000 in gallo

“' accch elm/we mr a.{ ramos +acohf unions rs
H,q,_jwlf@ole.t wana m them

 

f ‘§lmvi/WV\U/\

 

Ceriification (by officer present during the execution of the warraat)

 

f declare underperra[rf)) cf perjury that l am arc Ojicer who executed this warranf and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Cier.ic's Q,j"ice.

Do:e_- fizz¢_»llgf \»J_/QA_, /"`\

Exem.'!ing oj`ce}' s signature

orthan l) coach

Prinrea` name and rifle

 

 

 

AUSA: Andrew Elrown, 11th F|oor, xO‘I 02

